                IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF IOWA
                       EASTERN DUBUQUE DIVISION
________________________________________________________________________
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )     Case No. 22-CR-1039-2 CJW
                                    )
vs.                                 )
                                    )
JACOB PATRICK DEMAIO and            )     MOTION TO CONTINUE
CODI LYN DEMAIO,                    )     TRIAL AND TO RESET
                                    )     PRETRIAL DEADLINES
            Defendant.              )
                                    )     (Unresisted)
________________________________________________________________________

          COMES NOW, Defendant Codi Lyn DeMaio, by and through her undersigned

attorney and in support of this unresisted Motion to Continue Trial and Reset Pretrial

Deadlines states as follows:

          1.    The Defendant is charged in a Superseding Indictment filed February 23,

2023, (Doc. #18), with one count of Conspiracy to Distribute a Controlled Substance near

a Protected Location, in violation of Title 21 U.S.C. §§846, 841(a)(1), 841(b)(1)(A) and

860(a).

          2.    The Trial in this matter is currently scheduled for April 3, 2023, due to co-

defendant Jacob DeMaio’s prior arrest October 24, 2022, on the original Indictment filed

October 19, 2022. (Doc. #2).

          3.    The undersigned is requesting additional time to complete the review of

what has been reported to be voluminous discovery. Discovery has not yet been received

for this case. Defendant Codi Lyn DeMaio is released under the supervision of Probation.

          4.    Continuing the Trial and extending the time for any pretrial deadlines is in



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the interests of justice and will not prejudice the Government.

        5.       The undersigned has spoken with SpAUSA Devra T. Hake, and she has no

objection to continuing trial and resetting pretrial deadlines in this matter. Further, the

undersigned has also been in contact with co-defendant’s counsel, Attorney Michael

Lanigan, and he has no objection to continuing trial and resetting pretrial deadlines in this

case. Mr. Lanigan and the undersigned request a trial date after July 1, 2023.

        WHEREFORE, the Defendant prays the Court grant this Motion to Continue Trial

and Reset Pretrial Deadlines for both defendants, and for such other and further relief as

the Court deems just and proper in the premises.


                                                     _/s/ Michael K. Lahammer_________
                                                     Michael K. Lahammer
                                                     ATT 4425
                                                     425 2nd St. SE Suite 1010
                                                     Cedar Rapids, Iowa 52401
                                                     Phone: 319-364-1140
                                                     Fax: 319-364-4442
                                                     ATTORNEY FOR DEFENDANT
                                                     Email: mike@lahammerlaw.com
                   PROOF OF SERVICE
The undersigned certifies that the foregoing
instrument was filed via CM/ECF on this 6th day of
March, 2023, and all parties of record received
copies.

.s. Michael K. Lahammer__




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